UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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PATRICIA CUMMINGS,                                                                                Case No.:
                                                                                                  19-cv-0 1664-
                                                      Plaintiff,                                  SJF-SIL

                                    -against-

THE CITY OF NEW YORK; NEW YORK CITY DEPARTMENT OF
EDUCATION; CITY OF NEW YORK OFFICE OF SPECIAL
INVESTIGATIONS; NYC MAYOR BILL de BLASIO; GIULIA COX;
COURTNEY WARE; BEN CHAPMAN; NEW YORK DAILY NEWS;
DR. ANDRE PERRY; THE HECHINGER REPORT aJk/a HECHINGER
INSTITUTE ON EDUCATION AND THE MEDIA; LENARD LARRY
McKELVEYaJk/a CHARLAMAGNE THA GOD; WWPR-FM (105.1 MHZ);
 iHEARTMEDIA; CLEAR CHANNEL COMMUNICATIONS, INC.;
NEW- YORK STATE SENATOR KEVIN S. PARKER; COUNCILMAN
JUMAANE D. WILLIAMS; COUNCILMAN DANIEL DROMM;
COALITION OF EDUCATIONAL JUSTICE; ANGEL MARTINEZ;
NATASHA CAPERS, and "JOHN DOE AND JANE DOE # 1-100" said
names being fictitious, it being the intent of Plaintiff to designate any and
all individuals, officers, members, agents, servants, and/or employees of the
aforementioned agencies owing a duty of care to Plaintiff, individually and
jointly and severally,

                                                      Defendants.
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                                        NOTICE OF HEARING

         PLEASE TAKE NOTICE that the attached is a true copy of a Notice of Hearing of the

Honorable Sandra J. Feuerstein, scheduling an Initial Conference in the above-captioned action

for September 18, 2019, at 11:15 a.m., in Courtroom 1010, at the Central Islip Courthouse of

this Court, located at 100 Federal Plaza, Central Islip, New York 11722.

         PLEASE TAKE FURTHER NOTICE that the said Notice of Hearing further directs



                                                   Page 1 of 3
that the parties shall appear with authority, or with individuals with authority, to settle this

matter.

Dated: Garden City, New York
       April 11, 2019

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                                             Page 2 of 3
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      HETALDALAL
      Director of Legal Compliance
      On behalf of Defendant, New York Coalition for Educational Justice (sued herein
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      Defendant
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      NATASHA CAPERS
      Defendant
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                                             U.S. District Court

                                     Eastern District of New York

Notice of Electronic Filing

The following transaction was entered on 4/4/2019 at 4:01 PM EDT and filed on 4/4/2019
Case Name:          Cummings v. The City of New York et. al.
Case Number:        2 :19-cv-01664-SJF-SIL
Filer:
Document Number: No document attached


Docket Text:               ,
NOTICE of Hearing: Initial Conference set for 9/18/2019 at 11 :15 AM in Courtroom
1010 before Judge Sandra J. Feuerstein at the Central Islip Courthouse, located at
100 Federal Plaza, Central Islip, New York 11722. The parties shall appear with
authority, or with, individuals with authority, to settle this matter. P/aintiff(s) shall
serve a copy of this Notice of Hearing upon defendant(s) and file proof of such
service with the Court. c/ECF. (Disbrow, Sandra)
